                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                               )
SYLVESTER ALLEN, JR., DEJUANA                  )
BIGELOW, TABATHA DAVIS, and                    )
FUTURE ALAMANCE, on behalf of                  )
themselves and all other similarly situated,   )
                                               )
                    Plaintiffs,                )
                                               )
             v.                                )
                                               )
CITY OF GRAHAM, KRISTI COLE,                   )
individually and in her official capacity as       1:20-CV-00997
                                               )
Chief of the Graham Police Department,         )
ALAMANCE COUNTY, TERRY S.                      )
JOHNSON, individually and in his official      )
capacity as Sheriff of Alamance County,        )
GRAHAM POLICE OFFICERS JOHN and                )
JANE DOES #1-15, and ALAMANCE                  )
COUNTY DEPUTY SHERIFFS JOHN                    )
AND JANE DOES #16-30,                          )
                                               )
                    Defendants.


GREGORY DRUMWRIGHT, EDITH )
ANN JONES, and JUSTICE FOR THE )
NEXT GENERATION,                             )
                                             )
                     Plaintiffs,             )
                                             )
               v.                            )
                                             )     1:20-CV-00998
TERRY JOHNSON, in his official and )
individual capacities as Alamance County )
Sheriff, and MARY KRISTY COLE, in her )
official and individual capacities as Graham )
Chief of Police,                             )
                                             )
                      Defendants.            )




     Case 1:20-cv-00997-CCE-LPA Document 22 Filed 12/04/20 Page 1 of 2
                               ORDER TO CONSOLIDATE


       Pursuant to F. R. Civ. P 42 (A), all named Defendants in the above captioned

matters, excluding Graham Police Officers John and Jane Does #1-15 and Alamance

County Deputy Sheriffs John and Jane Does #16-30, made application to consolidate

these cases. Counsel for the Plaintiffs in both cases consent to the consolidation.

       After reviewing the court records and the accompanying Brief in Support of

Defendants’ Motions to Consolidate filed in each case, the Court finds that these matters

involve a common question of law or fact and that good cause exists and warrants that

these matters be consolidated;

       IT IS NOW ORDERED that the motions are GRANTED and these cases are

consolidated for all pre-trial proceedings, and, subject to review closer to trial, for trial.

Allen v. City, 20cv997, is designated as the lead case. Henceforth all pleadings, motions,

briefs, and other allowable filings shall be filed in that case only.

       This the 4th day of December, 2020.



                                            ______________________________________
                                               UNITED STATES DISTRICT JUDGE




                                               2


      Case 1:20-cv-00997-CCE-LPA Document 22 Filed 12/04/20 Page 2 of 2
